Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 1 of 28 Pageid#:
                                  17381



                     UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                          Charlottesville Division

 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUNIZ,
 MARCUS MARTIN, NATALIE ROMERO,
 CHELSEA ALVARADO, THOMAS BAKER
 and JOHN DOE,
                       Plaintiffs,
 v.

 JASON KESSLER, RICHARD SPENCER,
 CHRISTOPHER CANTWELL, JAMES       Civil Action No. 3:17-cv-00072-NKM
 ALEX FIELDS, JR., VANGUARD
 AMERICA, ANDREW ANGLIN,
 MOONBASE HOLDINGS, LLC, ROBERT
 “AZZMADOR” RAY, NATHAN DAMIGO,
 ELLIOTT KLINE a/k/a/ ELI MOSLEY,
 IDENTITY EVROPA, MATTHEW
 HEIMBACH, MATTHEW PARROTT a/k/a
 DAVID MATTHEW PARROTT,
 TRADITIONALIST WORKER PARTY,
 MICHAEL HILL, MICHAEL TUBBS,
 LEAGUE OF THE SOUTH, JEFF SCHOEP,
 NATIONAL SOCIALIST MOVEMENT,
 NATIONALIST FRONT, AUGUSTUS SOL
 INVICTUS, FRATERNAL ORDER OF THE
 ALT-KNIGHTS, MICHAEL “ENOCH”
 PEINOVICH, LOYAL WHITE KNIGHTS OF
 THE KU KLUX KLAN, and EAST COAST
 KNIGHTS OF THE KU KLUX KLAN a/k/a
 EAST COAST KNIGHTS OF THE TRUE
 INVISIBLE EMPIRE,

                        Defendants.

               PLAINTIFFS’ PROPOSED JUROR QUESTIONNAIRE
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 2 of 28 Pageid#:
                                  17382



         Plaintiffs respectfully request that the Court include the following questions in the juror

 questionnaire for trial in this matter.



 1. Full name: ________________________

 2. Date of Birth: ________________________

 3. Gender: ________________________

 4. Race / ethnic background:
           a. White / Caucasian                                  e. Native Hawaiian / Other
           b. Black / African American                              Pacific Islander
           c. Asian                                              f. American Indian / Alaska
           d. Hispanic / Latino                                     Native
                                                                 g. Other: _________________

 5. Where were you born? ________________________

             a. Where were you raised? ________________________

 6. Current address (including city / county): ______________________________________
    ________________________________________________________________________

             a. How long have you lived there? ________________________

 7. What other areas or neighborhoods have you lived in over the past 10 years?
    ________________________________________________________________________
    ________________________________________________________________________

 8. This trial is expected to last approximately four weeks. Do you have any immovable
    scheduling conflicts between October 25, 2021 and November 19, 2021?
    ______YES ______NO

             a. If yes, please explain: ________________________________________________
                __________________________________________________________________

 9. Do you have any impairments (i.e., vision, hearing, other medical problems) that may affect
    your jury service? ______YES ______NO

             a. If yes, please explain: ________________________________________________
                __________________________________________________________________




                                                  2
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 3 of 28 Pageid#:
                                  17383



 10. Marital status: (please circle all that apply)
            a. Single / never married                     e.   Divorced
            b. Married                                    f.   Widowed
            c. Live with significant other                g.   Live with parent(s)
            d. Separated                                  h.   Live with roommate(s)

 11. If you have any children, please indicate the age, gender, education, and occupation of each:

           AGE         GENDER              EDUCATION LEVEL AND OCCUPATION




 12. What is the highest level of education you have completed?
     ________________________________________________________________________

 13. If you earned a degree after high school, what was your major area(s) of study?
     ________________________________________________________________________

 14. What is your current employment status? (please circle all that apply)
            a. Employed full-time
            b. Employed part-time
            c. Self-employed
            d. Work from home
            e. Homemaker
            f. Retired
            g. Disabled and unable to work
            h. Unemployed / laid off
            i. Student
               (if student what area of
               study? _________________)




                                                      3
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 4 of 28 Pageid#:
                                  17384



 15. What is your current occupation, name of employer, title, and length of that employment (if
     retired or unemployed, complete based on your last job)?
     ________________________________________________________________________
     ________________________________________________________________________

 16. What other jobs have you held, and for how long?
     ________________________________________________________________________
     ________________________________________________________________________
     ________________________________________________________________________

 17. If you have a spouse / partner with whom you reside, is that person currently employed?
     ______YES ______NO

            a. Please provide their occupation and job title (if retired or unemployed, complete
               based on their last job):
               __________________________________________________________________

 18. What is the total annual gross income of your household?
            a. Under $25,000                                  e. $100,000-$149,999
            b. $25,000-$49,999                                f. $150,000-$199,999
            c. $50,000-$74,999                                g. Over $200,000
            d. $75,000-$99,999

 19. What political party do you usually support? (Please circle one)
           a. Democratic
           b. Republican
           c. Independent
           d. Libertarian
           e. No specific party / depends on the candidate
           f. Do not vote
           g. Other (please specify) __________________

 20. Who did you vote for in the 2016 Presidential Election? (Please circle one)
           a. Donald Trump (Republican)
           b. Hillary Clinton (Democrat)
           c. Gary Johnson (Libertarian)
           d. Jill Stein (Green)
           e. Other (please specify) __________________

 21. Who did you vote for in the 2020 Presidential Election? (Please circle one)
           a. Donald Trump (Republican)
           b. Joseph Biden (Democrat)
           c. Jo Jorgensen (Libertarian)
           d. Howie Hawkins (Green)
           e. Other (please specify) __________________



                                                 4
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 5 of 28 Pageid#:
                                  17385



 22. In general, do you consider yourself to be:
     ______Liberal ______Moderate ______Conservative               ______Other: ________

 23. What is your current religion, if any? (Please circle one)
            a. Agnostic
            b. Atheist
            c. Buddhist
            d. Christian (please specify) ___________________
            e. Hindu
            f. Jewish
            g. Muslim
            h. Other (please specify) __________________

 24. Please list any hobbies or special interests you have:
     ___________________________________________________________________________
     ___________________________________________________________________________

 25. Please list any clubs, associations, or groups to which you or your spouse / partner belong or
     in which either of you participates (i.e., civic, social, religious, charitable, volunteer,
     political, sporting, professional, business, or recreational):

            a. Self: _____________________________________________________________
               __________________________________________________________________

            b. Spouse / Partner:
               ___________________________________________________________
               __________________________________________________________________

 26. What were the last three books you read / podcasts you listened to?

        1. ______________________________________________________
        2. ______________________________________________________
        3. ______________________________________________________

 27. Who are the three publicly known people you admire most and why?

        1. ______________________________________________________
        2. ______________________________________________________
        3. ______________________________________________________

 28. Who are the three publicly known people you admire least and why?

        1. ______________________________________________________
        2. ______________________________________________________
        3. ______________________________________________________



                                                 5
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 6 of 28 Pageid#:
                                  17386



 29. Would you say that you seek out positions of leadership when you participate with others in
     your employment or other activities?
            a. All the time
            b. Often
            c. Sometimes
            d. Rarely
            e. Never

 30. Have you, a family member, or a close friend ever worked in or made any application for
     employment with any law enforcement or corrections agency or court system, whether local,
     state, or federal? ______YES ______NO

            a. If YES, please state the person’s relationship to you and describe the job and the
               name of the law enforcement agency / court system:
               __________________________________________________________________
               __________________________________________________________________

 31. Would you tend to give more weight or less weight to the testimony of a law enforcement
     officer as compared to a non-law enforcement witness?
             a. More weight
             b. About the same about of weight
             c. Less weight
             d. I don’t know / unsure

 32. Do you have regular contact with any law enforcement agencies, employees, or officers
     through your work, your neighborhood, or in your social life?
     ______YES ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________

 33. Please rate how strongly you agree or disagree with the following statements:

            a. “Because law enforcement officers have such dangerous jobs, it is not right to
               second guess decisions they make while on duty.”
                    i. Strongly agree
                   ii. Somewhat agree
                  iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

            b. “The criminal justice system is biased against racial and ethnic minorities.”
                   i. Strongly agree
                  ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                 iv. Somewhat disagree

                                                6
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 7 of 28 Pageid#:
                                  17387



                    v. Strongly disagree

            c. “Police in this county treat White and Black people equally.”
                   i. Strongly agree
                  ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                 iv. Somewhat disagree
                  v. Strongly disagree

 34. Have you ever served in the military?
           a. If YES, please list the branch, highest rank, approximate dates of service, and
               whether you served in combat.
               __________________________________________________________________
               __________________________________________________________________

 35. Are you currently or have you ever been a member of, volunteered time with, or given
     financial support to any group or organization which is concerned with ethnic or racial
     issues? (e.g., NAACP, ACLU, Jewish Community Centers (“JCC”), Institute for Historical
     Review, Color of Change, League of the South, League of Latin American Citizens
     (“LULAC”), National Policy Institute, etc.)
     ______YES ______NO

            a. If YES, please list the groups or organizations and explain the type of support
               given: ___________________________________________________________
               _________________________________________________________________

 36. Are you currently or have you ever been a member of any private club, civic, professional, or
     fraternal organization which limits its membership on the basis of race, ethnic origin, gender,
     or religion? (e.g., The Wing, Hillel, fraternities / sororities, Boy Scouts / Girl Scouts, Patriot
     Front, etc.) ______YES ______NO

            a. If YES, please list the groups or organizations and explain your role:
               _________________________________________________________________
               _________________________________________________________________

 37. How strongly do you agree or disagree with the following statements:

            a. “Ethnic minorities should have a specific organization that advocates for them.”
                   i. Strongly agree
                  ii. Somewhat agree
                 iii. Neutral / neither agree nor disagree
                 iv. Somewhat disagree
                  v. Strongly disagree




                                                   7
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 8 of 28 Pageid#:
                                  17388



            b. “White / Caucasian people should have a specific organization that advocates for
               them.”
                    i. Strongly agree
                   ii. Somewhat agree
                  iii. Neutral / neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly agree

 38. Are there any charities or organizations to which you have made a donation to in the last 5
     years?
     ______YES ______NO

            a. If YES, please list the charities or organizations to which you have contributed in
               the past five years:
               __________________________________________________________________
               __________________________________________________________________

 39. Do you currently, or have you ever, made a financial contribution or been a member of any
     victims’ rights group?
     ______YES ______NO

            a. If YES, please identify the group and your participation:
               _________________________________________________________________
               _________________________________________________________________

 40. How do you get your news? Please identify the names of any source(s) you use, and fill in all
     that apply:
             a. Newspapers? (e.g., The Central Gazette, The Weekly Chronicle, The Daily
                 Progress, The New York Times, USA Today, etc.)
                 ______________________________________________________
            b. Radio? (including Talk Radio and podcasts) ______________________________
            c. Television or Cable News? (e.g., FOX, CNN, MSNBC, etc.)
               __________________________________________________________________
            d. Internet? (e.g., The Daily Progress, Breitbart News, Wall Street Journal, Daily
               Stormer, Washington Post, HuffPost, The National Review, New York Times, etc.)
               __________________________________________________________________
            e. Social Media (e.g., Facebook, Twitter, Discord, Reddit, Parler, etc.)?
               __________________________________________________________________

 41. Generally, how much trust do you have in the news media, as an institution?
        ______A great deal ______Some ______A little ______None at all

 42. Have you, a family member, or a close friend ever been a party in a civil lawsuit?
        ______YES ______NO


                                                 8
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 9 of 28 Pageid#:
                                  17389



            a. If YES, were you / they (check all that apply):

                                        PLAINTIFF      DEFENDANT
                Yourself                _________       _________
                Family Member           _________       _________
                Close friend            _________       _________

            b. If YES, please explain the type of lawsuit, when the lawsuit took place, and the
               outcome: __________________________________________________________
               __________________________________________________________________

 43. Have you ever been in a situation where you could have sued a business or person and
     decided not to do so? ______YES ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________

 44. How strongly do you agree or disagree with the following statement: “Jurors tend to give
     excessive damages awards.”
            a. Strongly agree
            b. Somewhat agree
            c. Neutral / neither agree nor disagree
            d. Somewhat disagree
            e. Strongly disagree

 45. Do you support legislative reform efforts to place caps or limits on the amounts of money
     juries can award? ______YES ______NO

 46. In criminal cases, prosecutors are required to prove the defendant’s guilt “beyond a
     reasonable doubt,” while in civil cases the plaintiff’s standard of proof is lower. In civil
     cases, plaintiffs must show that it is more likely than not that the claims made against the
     defendants are true. Do you believe that this standard is unfair to defendants and/or that
     plaintiffs should have a higher burden of proof? ______YES ______NO

            a. Please explain your views: ____________________________________________
               __________________________________________________________________

 47. Would you say that as an individual you are more driven by scientific facts (i.e., what you
     know to be true based on scientific evidence / proof) or by your feelings and intuitions (i.e.,
     gut instinct, faith, spiritual beliefs)?
             a. Science / evidence / data
             b. Intuition / gut / faith

 48. Under the law, the facts at issue in the trial are for the jury to determine. The law applicable
     to the allegations in the case is something on which the court will instruct you. You are
     required to accept the law as the judge explains it to you regardless of any opinions you

                                                   9
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 10 of 28 Pageid#:
                                  17390



    might have as to what the law is or should be. Would you have any difficulty following that
    instruction if was at odds with your own views of what the law should be?
    ______YES ______NO ____UNSURE

            a. If yes, please explain: ________________________________________________
               __________________________________________________________________

 49. Do you believe that most people who sue others in court have legitimate grievances?
     ______YES ______NO

 50. Do you believe that plaintiffs in personal injury lawsuits often exaggerate their symptoms /
     injuries in order to recover higher damages awards? ______YES ______NO

            a. If yes, please explain how you came to this belief and if there are any specific
               cases that come to mind: _____________________________________________
               __________________________________________________________________

 51. Do you think that damages awarded by juries these days are generally:
        ______Too low ______About right ______Too high ______Unsure

 52. Do you believe juries should award damages for personal injury, pain, or suffering?
     ______YES ______NO

            a. If NO, please explain: ______________________________________________
               __________________________________________________________________

 53. Have you ever been a victim of a traumatic event (i.e., car accident, physical injury, mugging
     / burglary)? ______YES ______NO

            a. If YES, did you report the incident to the police? ______YES        ______NO

                    i. If YES, were you satisfied with the way the report / complaint was
                       handled? ______YES ______NO

 54. Have you, a family member, or a close friend ever suffered:
                                                               YES           NO
               Chronic pain or illness                         ____         ____
               Prolonged psychological / emotional distress ____            ____

            a. If YES to either, please explain (including if you / they had to stop working due to
               the condition): _____________________________________________________
               __________________________________________________________________




                                                 10
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 11 of 28 Pageid#:
                                  17391



 55. How strongly would you agree or disagree with the following statement: “Mental health
     treatment is a waste of time.”
            a. Strongly agree
            b. Somewhat agree
            c. Neutral / Neither agree nor disagree
            d. Somewhat disagree
            e. Strongly disagree

 56. Do you believe that Post-traumatic Stress Disorder (“PTSD”) is a real mental health
     condition? ______YES ______NO ______UNSURE

 57. How strongly would you agree or disagree with the following statement: “PTSD is over-
     diagnosed.”
            a. Strongly agree
            b. Somewhat agree
            c. Neutral / Neither agree nor disagree
            d. Somewhat disagree
            e. Strongly disagree

 58. Have you, a family member, or a close friend ever experienced (whether diagnosed or
     undiagnosed) PTSD or PTSD-like symptoms? ______YES ______NO

 59. How strongly would you agree or disagree with the following statement: “PTSD is a
     disorder that only affects military service members.”
            a. Strongly agree
            b. Somewhat agree
            c. Neutral / Neither agree nor disagree
            d. Somewhat disagree
            e. Strongly disagree

 60. Have you ever served on a jury? ______YES        ______NO

            a. If YES, please state when, the type of case (civil, criminal, or grand jury),
               whether the jury reached a verdict, and whether you served as the foreperson:
               __________________________________________________________________
               __________________________________________________________________

            b. If YES, please briefly note how you felt about your overall experience as a juror
               and if it changed your view of lawsuits / the criminal justice system in the U.S.:
               __________________________________________________________________
               __________________________________________________________________

 61. If you served on a jury before, is there anything about your prior jury service that would
     impact your ability to be a fair and impartial juror on this case?
     ______YES ______NO



                                                 11
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 12 of 28 Pageid#:
                                  17392



 62. Do you hold any views, beliefs, or opinions that would make it difficult for you to sit in
     judgment of another person? ______YES ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________

 63. Have you, any member of your immediate family, or a close personal friend ever been in any
     incident involving a motor vehicle that resulted in injury? ______YES ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________

 64. Have you, a family member, or a close friend ever participated in a march / protest (e.g., The
     Women’s March, Anti-Tax Marches, Occupy Wall Street, March for Life, Voting Rights,
     Anti-Mask / Lockdown Mandate protests, Anti-War Movements, Political campaign rally)?
     (Please identify each such march / protest you, a family member, or a close friend have
     participated in)

            a.   Yes, me (please explain) _____________________________________________
            b.   Yes, a family member (please explain) __________________________________
            c.   Yes, a close friend (please explain) _____________________________________
            d.   No

 65. Have you, a family member, or a close friend ever been arrested or injured in a march /
     protest? (Please select all that apply)

                                       ARRESTED        INJURED
                 Yourself               ________       ________
                 Family member          ________       ________
                 Close friend           ________       ________

 66. How strongly do you approve or disapprove of protest / demonstrations that violate
     ordinances (i.e., continue after curfews, are unpermitted, “disturb the peace,” etc.)?
            a. Strongly approve
            b. Somewhat approve
            c. Neutral / Neither approve nor disapprove
            d. Somewhat disapprove
            e. Strongly disapprove

 67. How strongly do you agree with the following statements:

            a. “In the United States, people are free to peacefully protest.”
                    i. Strongly agree
                   ii. Somewhat agree
                  iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree

                                                  12
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 13 of 28 Pageid#:
                                  17393



                   v. Strongly disagree

           b. “Events with both protestors and counter-protestors are more likely to be violent
              than events with just protestors.”
                   i. Strongly agree
                  ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                 iv. Somewhat disagree
                  v. Strongly disagree

           c. “Violence could be justified to advance a party’s political goals.”
                  i. Strongly agree
                 ii. Somewhat agree
                iii. Neutral / Neither agree nor disagree
                iv. Somewhat disagree
                 v. Strongly disagree

 68. Which of the following do you consider to be a form of peaceful / nonviolent protest?
                                                                   YES NO         UNSURE
           a. Blocking traffic                                     ____ ____        ____
           b. Counterprotests (protests opposing an
               existing protest)                                   ____ ____        ____
           c. Writing on walls / graffiti                          ____ ____        ____
           d. Occupation / sit-down strike
               (occupying a public building or space)              ____ ____        ____
           e. Picketing (congregating outside a place of work
               or location where an event is taking place)         ____ ____        ____
           f. Photobombing (disrupting an event being
               broadcast live)                                     ____ ____        ____

 69. Are you familiar with the Black Lives Matter (“BLM”) movement?
     ______YES ______NO

           a. If YES, have you: (Please select all that apply)

                                                                          YES NO
               x   Shared posts in support of BLM on social media         ____ ____
               x   Shared posts against BLM on social media               ____ ____
               x   Attended protests in support of BLM                    ____ ____
               x   Attended protests against BLM
               x   Donated to funds supporting BLM                        ____ ____

           b. Has a close friend or family member: Please select all that apply)

                                                                          YES NO
               x   Shared posts in support of BLM on social media         ____ ____

                                               13
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 14 of 28 Pageid#:
                                  17394



              x   Shared posts against BLM on social media                ____ ____
              x   Attended protests in support of BLM                     ____ ____
              x   Donated to funds supporting BLM                         ____ ____

           c. How would you rate your overall opinion on the Black Lives Matter movement?
                  i. Extremely favorable
                 ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable
                iv. Somewhat unfavorable
                 v. Extremely unfavorable

           d. Overall, how much do you approve or disapprove of the way police responded to
              the Black Lives Matter protests during the summer of 2020?
                   i. Strongly approve
                  ii. Somewhat approve
                 iii. Neutral / Neither approve nor disapprove
                 iv. Somewhat disapprove
                  v. Strongly disapprove

 70. Are you familiar with the All Lives Matter movement? ______YES       ______NO

           a. If YES, have you: (Please select all that apply)

                                                                          YES      NO
              x   Shared posts in support of the All Lives Matter
                  movement on social media                                ____ ____
              x   Shared posts against the All Lives Matter
                  movement on social media                                ____ ____
              x   Attended protests in support of All Lives Matter        ____ ____
              x   Donated to funds supporting All Lives Matter            ____ ____

           b. Has a close friend or family member: Please select all that apply)

                                                                          YES      NO
              x   Shared posts in support of the All Lives Matter
                  movement on social media                                ____ ____
              x   Shared posts against the All Lives Matter
                  movement on social media                                ____ ____
              x   Attended protests in support of All Lives Matter        ____ ____
              x   Donated to funds supporting All Lives Matter            ____ ____

           c. How would you rate your overall opinion on the All Lives Matter movement?
                  i. Extremely favorable
                 ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable

                                               14
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 15 of 28 Pageid#:
                                  17395



                  iv. Somewhat unfavorable
                   v. Extremely unfavorable

 71. Are you familiar with the Blue Lives Matter movement? ______YES       ______NO

           a. If YES, have you: (Please select all that apply)

                                                                          YES      NO
              x   Shared posts in support of the Blue Lives Matter
                  movement on social media                                ____ ____
              x   Shared posts against the Blue Lives Matter
                  movement on social media                                ____ ____
              x   Attended protests in support of Blue Lives Matter       ____ ____
              x   Donated to funds supporting Blue Lives Matter           ____ ____

           b. Has a close friend or family member: Please select all that apply)

                                                                          YES      NO
              x   Shared posts in support of the Blue Lives Matter
                  movement on social media                                ____ ____
              x   Shared posts against the Blue Lives Matter
                  movement on social media                                ____ ____
              x   Attended protests in support of Blue Lives Matter       ____ ____
              x   Donated to funds supporting Blue Lives Matter           ____ ____

           c. How would you rate your overall opinion on the Blue Lives Matter movement?
                  i. Extremely favorable
                 ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable
                iv. Somewhat unfavorable
                 v. Extremely unfavorable

 72. Are you familiar with “Antifa”? ______YES      ______NO

           a. If YES, how would you describe Antifa?
              __________________________________________________________________
              __________________________________________________________________
              __________________________________________________________________

           b. If YES, how would you rate your overall opinion on Antifa?
                   i. Extremely favorable
                  ii. Somewhat favorable
                 iii. Neutral / Neither favorable nor unfavorable
                 iv. Somewhat unfavorable
                  v. Extremely unfavorable


                                               15
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 16 of 28 Pageid#:
                                  17396



            c. Do you believe that Antifa exists only to support Black people / ethnic minorities?
               ______ YES ______ NO

            d. Which do you think is a bigger threat in America right now:
                   i. White supremacists
                  ii. Antifa
                iii. Both equally
                 iv. I don’t know / Unsure

 73. Are you familiar with “QAnon”? ______YES        ______NO

            a. If YES, how would you rate your overall opinion of QAnon?
                    i. Extremely favorable
                   ii. Somewhat favorable
                  iii. Neutral / Neither favorable nor unfavorable
                  iv. Somewhat unfavorable
                   v. Extremely unfavorable

            b. Are you currently a member of at least 1 QAnon social media group (i.e., on
               Facebook, WhatsApp, Reddit, Twitter, Instagram, Parler, etc.)?
               ______YES ______NO

            c. Do any of your family members or close friends identify as QAnon followers?
               ______YES ______NO

 74. Which of the following statements best describes your view on statues of Confederate war
     heroes (e.g., Robert E. Lee, Stonewall Jackson)?
        ______Southern pride ______Historical monuments ______Symbols of racism

 75. How strongly do you approve or disapprove of the removal of Confederate statutes:
           a. Strongly approve
           b. Somewhat approve
           c. Neutral / Neither approve nor disapprove
           d. Somewhat disapprove
           e. Extremely disapprove

 76. How strongly do you agree or disagree with the following statements:

            a. “The First Amendment (right to free speech) unequally protects majority opinions
               over minority viewpoints.”
                    i. Strongly agree
                   ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

                                                16
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 17 of 28 Pageid#:
                                  17397



            b. “The current political climate prevents me from saying things I believe because
               others might find them offensive.”
                    i. Strongly agree
                   ii. Somewhat agree
                  iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

 77. How concerned are you with the amount of ____________ in the United States today?

            a. Prejudice against people of Jewish descent / Jewish culture
                    i. Extremely concerned
                   ii. Moderately concerned
                  iii. Somewhat concerned
                  iv. Slightly concerned
                   v. Not at all concerned

            b. Racism against Black / African American people
                   i. Extremely concerned
                  ii. Moderately concerned
                 iii. Somewhat concerned
                 iv. Slightly concerned
                  v. Not at all concerned

            c. Racism against Hispanic / Latino people
                   i. Extremely concerned
                  ii. Moderately concerned
                 iii. Somewhat concerned
                 iv. Slightly concerned
                  v. Not at all concerned

            d. Racism against White / Caucasian people
                   i. Extremely concerned
                  ii. Moderately concerned
                 iii. Somewhat concerned
                 iv. Slightly concerned
                  v. Not at all concerned

 78. How strongly do you agree or disagree with the following statements:

            a. “Black / African American people commit more violent crimes than White /
               Caucasian people.”
                   i. Strongly agree
                  ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                 iv. Somewhat disagree
                                               17
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 18 of 28 Pageid#:
                                  17398



                   v. Strongly disagree

            b. “Hispanic / Latino people commit more violent crimes than White / Caucasian
               people.”
                    i. Strongly agree
                   ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

 79. How much of a problem, if at all, do you think antisemitism is in the United States today?
          a. A very serious problem
          b. Somewhat of a problem
          c. Not much of a problem
          d. Not a problem at all

 80. Over the past 5 years, do you think antisemitism in the United States has…
            a. Increased a lot
            b. Increased somewhat
            c. Stayed the same
            d. Decreased a little
            e. Decreased a lot

 81. How strongly do you agree or disagree with the following statements:

            a. “Jews have too much power in the business world.”
                    i. Strongly agree
                   ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

            b. “Jews have too much control over the global media.”
                    i. Strongly agree
                   ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

            c. “Jews think they are better than other people.”
                    i. Strongly agree
                   ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree



                                                18
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 19 of 28 Pageid#:
                                  17399



            d. “Jewish values are harmful to the youth of America.”
                    i. Strongly agree
                   ii. Somewhat agree
                 iii. Neutral / Neither agree nor disagree
                  iv. Somewhat disagree
                   v. Strongly disagree

 82. As compared to 30 years ago, do you think race relations in the United States have gotten…
           a. Better
           b. Stayed about the same
           c. Worse

 83. How often do you have discussions about race and race relations?
           a. All the time
           b. Often
           c. Sometimes
           d. Rarely
           e. Never

 84. How often do you have positive interactions with someone of a different race?
           a. All the time
           b. Often
           c. Sometimes
           d. Rarely
           e. Never

 85. How often do you have negative interactions with someone of a different race?
           a. All the time
           b. Often
           c. Sometimes
           d. Rarely
           e. Never

 86. Have you, a family member, or a close friend ever felt discriminated against because of your
     / their religion? ______YES ______NO

            a. If YES, please briefly describe the incident(s):
               __________________________________________________________________
               __________________________________________________________________

 87. How would you describe your feelings toward the following groups of people?

            a. White / Caucasian people
                  i. Extremely favorable
                 ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable

                                                19
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 20 of 28 Pageid#:
                                  17400



                  iv. Somewhat unfavorable
                   v. Extremely unfavorable

           b. People of Jewish descent / Jewish culture
                  i. Extremely favorable
                 ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable
                iv. Somewhat unfavorable
                 v. Extremely unfavorable

           c. Black / African American people
                   i. Extremely favorable
                  ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable
                 iv. Somewhat unfavorable
                  v. Extremely unfavorable

           d. Hispanic / Latino people
                   i. Extremely favorable
                  ii. Somewhat favorable
                iii. Neutral / Neither favorable nor unfavorable
                 iv. Somewhat unfavorable
                  v. Extremely unfavorable

 88. How strongly would you agree or disagree with the following statements:

           a. “This country would be better with less ethnic diversity.”
                  i. Strongly agree
                 ii. Somewhat agree
                iii. Neutral / Neither agree nor disagree
                iv. Somewhat disagree
                 v. Strongly disagree

           b. “The state of race relations in this country is generally good.”
                  i. Strongly agree
                 ii. Somewhat agree
                iii. Neutral / Neither agree nor disagree
                iv. Somewhat disagree
                 v. Strongly disagree

           c. “Immigration is a big problem in this country.”
                  i. Strongly agree
                 ii. Somewhat agree
                iii. Neutral / Neither agree nor disagree
                iv. Somewhat disagree
                 v. Strongly disagree

                                               20
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 21 of 28 Pageid#:
                                  17401



 89. Are you familiar with the Proud Boys organization? ______YES         ______NO

            a. If yes, do you know anyone who is a member of the organization?
               ______YES ______NO

            b. How would you rate your opinion of the Proud Boys organization?
                   i. Extremely favorable
                  ii. Somewhat favorable
                 iii. Neutral / Neither favorable nor unfavorable
                 iv. Somewhat unfavorable
                  v. Extremely unfavorable

 90. Are you familiar with any of the following organizations / groups?

                                                              YES             NO
                Vanguard America                              ____           ____
                Traditionalist Worker Party                   ____           ____
                League of the South                           ____           ____
                National Socialist Movement                   ____           ____
                Nationalist Front                             ____           ____
                Fraternal Order of the Alt-Knights            ____           ____
                Loyal White Knights of the Ku Klux Klan       ____           ____
                East Coast Knights of the Ku Klux Klan
                (a/k/a East Coast Knights of the True
                Invisible Empire)                             ____           ____
                Identity Evropa                               ____           ____

            a. If you answered YES to any of the above, please explain how you are familiar
               with the organization(s) and if you know anyone who is or was ever a member of
               the organization(s): _________________________________________________
               _________________________________________________________________
               _________________________________________________________________

 91. Are you familiar with the Unite the Right rally that took place in Charlottesville, Virginia
     from August 11-12, 2017? ______YES ______NO

            a. If YES, how would you describe the amount of media coverage you followed
               about the rally?
               ______A lot (read many articles or watched many television accounts)
               ______A moderate amount (just basic coverage in the news)
               ______A little (barely heard about it)

            b. Did you follow the media / news surrounding the death of Heather Heyer and
               injuries to others at the Unite the Right rally? ______YES ______NO




                                                 21
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 22 of 28 Pageid#:
                                  17402



                    i. If YES, how would you describe the amount of media coverage you
                       followed about it?
                       ______A lot (read many articles or watched many television accounts)
                       ______A moderate amount (just basic coverage in the news)
                       ______A little (barely heard about it)

            c. If YES to either of the above, have you continued following the news surrounding
               the rally? ______YES ______NO

                    i. If YES, how would you describe the amount of media coverage you
                       followed about it?
                       ______A lot (read many articles or watched many television accounts)
                       ______A moderate amount (just basic coverage in the news)
                       ______A little (barely heard about it)

 92. Are you familiar with the organization “Integrity First For America”?
     ______YES ______NO

            a. If YES, please explain how you are familiar with them:
               __________________________________________________________________
               __________________________________________________________________

 93. This case involves allegations against the Defendants—identified as organizers and
     promoters of the “Unite the Right” rally held in Charlottesville on August 11-12, 2017—by
     the Plaintiffs—private citizens who attended the Unite the Right Rally as counter-
     protestors—that the Defendants were responsible for the injuries that the Plaintiffs suffered
     during Unite the Right. Have you heard or read anything about this case?
     ______YES ______NO

            a. If YES, please explain what you have heard about the case:
               __________________________________________________________________
               __________________________________________________________________

 94. Is there anything about the nature of the allegations or the parties involved that would make it
     difficult for you to be a fair and impartial juror in such a case?
     ______YES ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________

 95. The following names are a list of the Plaintiffs and Defendants in this case. Do you know /
     have any personal connection whatsoever to any of the following individuals?

                PLAINTIFFS                            DEFENDANTS
                Elizabeth Sines                       Jason Kessler
                Seth Wispelwey                        Richard Spencer

                                                 22
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 23 of 28 Pageid#:
                                  17403



                Marissa Blair                        Christopher Cantwell
                Devin Willis                         James Alex Fields, Jr.
                April Muniz                          Andrew Anglin
                Marcus Martin                        Robert “Azzmador” Ray
                Natalie Romero                       Nathan Damigo
                Chelsea Alvarado                     Elliot Kline a/k/a Eli Mosley
                Thomas Baker                         Matthew Heimbach
                                                     Matthew Parrott
                                                     Michael Hill
                                                     Michael Tubbs
                                                     Jeff Schoep
                                                     Augustus Sol Invictus
                                                     Michael “Enoch” Peinovich

                ______YES      ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________

 96. The following names are a list of attorneys representing the Plaintiffs and the Defendants. Do
     you know, or have you ever been represented by these lawyers or their law firms?

                Alexandra Kendal Conlon (Kaplan Hecker & Fink LLP)
                Benjamin D. White (Kaplan Hecker & Fink LLP)
                Emily C. Cole (Kaplan Hecker & Fink LLP)
                Jonathan R. Kay (Kaplan Hecker & Fink LLP)
                Julie E. Fink (Kaplan Hecker & Fink LLP)
                Michael L. Bloch (Kaplan Hecker & Fink LLP)
                Raymond P. Tolentino (Kaplan Hecker & Fink LLP)
                Roberta A. Kaplan (Kaplan Hecker & Fink LLP)
                Yotam Barkai (Kaplan Hecker & Fink LLP)
                Agbeko C. Petty (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                Arpine S. Lawyer (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                Jessica E. Phillips (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                Karen L. Dunn (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                Makiko B. Hiromi (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                Nicholas A. Butto (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                William A. Isaacson (Paul, Weiss, Rifkind, Wharton & Garrison LLP)
                Katherine M. Cheng (Boies Schiller Flexner LLP)
                Alan Levine (Cooley LLP)
                Alexandra Eber (Cooley LLP)
                Amanda L. Liverzani (Cooley LLP)
                Caitlin B. Munley (Cooley LLP)
                Daniel P. Roy, III (Cooley LLP)
                David E. Mills (Cooley LLP)
                Robert T. Cahill (Cooley LLP)

                                                23
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 24 of 28 Pageid#:
                                  17404



                Samantha A. Strauss (Cooley LLP)
                Joshua M. Siegel (Cooley LLP)
                John B. Rottenborn (Woods Rogers PLC)
                Elmer Woodard
                James E. Kolenich (Kolenich Law Office)
                Bryan Jones (Bryan Jones Legal)
                David L. Campbell (Duane, Hauck, Davis & Gravatt, P.C.)
                Justin Saunders Gravatt (Duane, Hauck, Davis & Gravatt, P.C.)
                William Edward ReBrook, IV (the ReBrook Law Office)
                Joshua Smith (Smith LLC)

                ______YES      ______NO

            a. If YES, please explain: ______________________________________________
               _________________________________________________________________

 97. Are you or any of your close friends or family members employed by any of the lawyers or
     law firms in this case? ______YES ______NO

            a. If yes, please explain: _______________________________________________

 98. Do you know any of the following individuals?
           Deborah E. Lipstadt, Ph.D.
           Stephen Fenton, P.E.
           Kathleen M. Blee, Ph.D.
           Peter Simi, Ph.D.

            ______YES       ______NO

            a. If yes, please explain: ________________________________________________

 99. Do you have any moral or religious beliefs which would prevent you from rendering a fair
     and impartial verdict in this case, based solely on the evidence you will hear in the courtroom
     and the court’s instructions on the law?
     ______YES ______NO

            a. If YES, please explain: ______________________________________________
               __________________________________________________________________




                                                 24
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 25 of 28 Pageid#:
                                  17405



 Date: August 24, 2021

                                           Respectfully submitted,



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                                           Julie E. Fink (pro hac vice)
                                           Gabrielle E. Tenzer (pro hac vice)
                                           Michael L. Bloch (pro hac vice)
                                           Yotam Barkai (pro hac vice)
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                                           Alexandra K. Conlon (pro hac vice)
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                                           Counsel for Plaintiffs




                                      25
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 26 of 28 Pageid#:
                                  17406



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  brottenborn@woodsrogers.com

                                            Counsel for Plaintiffs




                                       26
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 27 of 28 Pageid#:
                                  17407



                                CERTIFICATE OF SERVICE

        I hereby certify that on August 24, 2021, I filed the foregoing with the Clerk of Court
 through the CM/ECF system, which will send a notice of electronic filing to:

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                                               Socialist Movement, Nationalist Front,
                                               Matthew Parrott, Traditionalist Worker Party
                                               and Matthew Heimbach

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  Counsel for Defendants Matthew Parrott,
  Traditionalist Worker Party and Matthew
  Heimbach




                                              27
Case 3:17-cv-00072-NKM-JCH Document 1029 Filed 08/24/21 Page 28 of 28 Pageid#:
                                  17408



        I hereby certify that on August 24, 2021, I also served the following non-ECF participants
 via mail and electronic mail:

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  richardbspencer@gmail.com                       USP Marion, 4500 Prison Rd.
                                                  P.O. Box 2000
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                                                28
